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 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-009 TLN

12                                Plaintiff,            PROPOSED ORDER FOR RELEASE FOR
                                                        TWENTY-FOUR HOURS
13                          v.
                                                        DATE: June 6, 2018
14   TREVOR WHITE,                                      COURT: Hon. Edmund F. Brennan
15                               Defendant.

16

17          The United States of America, through the undersigned Assistant U.S. Attorney, and counsel for

18 defendant Trevor White, through his undersigned counsel, request that the Court enter an order releasing

19 Mr. White from pretrial detention for a period of twenty-four hours so that Mr. White may attend the

20 memorial service for his father, Trevor White, Sr., on June 8, 2018.

21          Mr. White is presently under indictment for violations of 21 U.S.C. §§ 841(a) and 846.

22 (Dkt. No. 1.) He has been ordered detained as a danger and a flight risk. (Dkt. Nos. 31, 62, 72.) On

23 May 12, 2018, Mr. White’s father, Trevor White, Sr., passed away, and a memorial service has been

24 scheduled for June 8, 2018. So that Mr. White can attend the memorial service for his father, the Court

25 grants his request for release from custody for twenty-four hours, under the following conditions:

26          1.      Mr. White shall be released from custody at 9:00 a.m. on Friday, June 8, 2018. He shall

27 return to custody by 9:00 a.m. on Saturday, June 9, 2018. The U.S. Marshal’s Service and the

28 Sacramento County Jail shall facilitate his release and return, per the terms of this order. Mr. White

                                                        1
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 1 shall be released to the custody of Henry and Lydia White, his aunt and uncle, one or both of whom

 2 must be present at the Sacramento County Jail to take custody of him on the morning of June 8.

 3          2.      While out of custody, Mr. White shall be committed to the custody of Henry and Lydia

 4 White. Henry and Lydia White shall maintain custody and supervision of Mr. White during the entire

 5 twenty-four hour period that he is out of custody. Mr. White may not visit with any third parties without

 6 Henry or Lydia White present, and he may not absent himself from their custody for any period of time,

 7 except for those brief and ordinary matters that customarily call for privacy. Mr. White shall not travel

 8 outside of Yolo, Sacramento, and El Dorado Counties for any purpose whatsoever.

 9          3.      Mr. White shall stay with Henry and Lydia White at their residence, located in Diamond

10 Springs, California. That address has been provided to the Government and Pretrial Services and is

11 considered “on record” as the location for Mr. White while he is on temporary release. Mr. White shall

12 stay at the residence of Henry and Lydia White on the evening of June 8; he may not stay at any other

13 location.

14          4.      During the twenty-four hour period of release, Mr. White may be at Henry and Lydia’s

15 White’s residence, and at any restaurant or similar location with them and family for the period of time

16 appropriate for a meal service. Mr. White shall also attend the memorial service for his father and be

17 present at the location of the service, arriving reasonably in advance of the service and departing at an

18 appropriate time following its conclusion.

19          5.      While on release, Mr. White may have contact with his family, his wife and children, and

20 with those individuals paying their respects at his father’s memorial service. He may not contact any

21 defendant or relevant person in any of the cases arising from the investigation that resulted in his

22 indictment, and he may not have any contact with any member or associate of the Varrio Bosque Norte

23 gang.1 He shall not acquire or use a phone other than one provided to him by Henry and Lydia White,

24 and he shall be available to speak with Pretrial Services on that phone at any time during the twenty-four

25 hour period that he is on release. (Henry and Lydia White shall provide the phone number, via Mr.

26 White’s counsel, to Pretrial Services on June 7, 2018.)

27
            1
           Mr. White’s counsel shall obtain the “do not contact” list from Pretrial Services and review it
28 with Mr. White prior to his release.

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 1          6.      While on temporary release, Mr. White shall not commit any offense in violation of

 2 federal, state, or local law. He shall abide by the terms of his probation in Yolo County as though he

 3 were still subject to supervision. He shall abstain from alcohol and all controlled substances.

 4          7.      Mr. White shall return to custody at the Sacramento County Jail by 9:00 a.m. on the

 5 morning of Saturday, June 9, 2018.

 6          8.      Henry and Lydia White are charged with the responsibility of ensuring that Mr. White

 7 complies with these terms of temporary release. They shall inform the Court immediately if Mr. White

 8 violates any of these conditions; this includes contacting the U.S. Marshal’s Service and the Sacramento

 9 Police Department if Mr. White violates any of these conditions on a weekend day.

10          9.      The parties expressly acknowledge that this period of temporary release is justified solely

11 by the extraordinary circumstances noted and the brief period of release being authorized. Mr. White

12 further acknowledges that he shall not rely on the fact of this release as a basis to seek bail in any future

13 bail-review hearings (unless such motions are for similarly extraordinary circumstances and for similarly

14 brief periods). Mr. White further acknowledges that the failure to abide by the terms of this order

15 constitutes a breach and shall result in his immediate return to custody. He further acknowledges that

16 the failure to return to custody within the terms of this order can constitute an additional federal offense

17 and expose him to additional charges beyond those against him in the pending indictment, as well as

18 additional prison time.

19          10.     Counsel for Mr. White shall provide a copy of this order to Henry and Lydia White, and

20 to Mr. White, and shall review the terms of this order with them. Henry White, Lydia White, and Trevor

21 White shall each sign a copy of this order to document that they have reviewed it with counsel,

22 understand its terms and the potential penalties for not complying with it, and agree to abide by it.

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 1    Dated: June 6, 2018
                                                             MCGREGOR W. SCOTT
 2                                                           United States Attorney

 3                                                    By: /s/ OWEN ROTH
                                                          OWEN ROTH
 4                                                        Assistant United States Attorney
 5
                                                             /s/ ROBERT WILSON
 6    Dated: June 6, 2018                             By:
                                                             ROBERT WILSON
 7                                                           Counsel for Trevor White

 8
                                             [PROPOSED] ORDER
 9
             The Court has reviewed the terms in this proposed order and finds that they constitute acceptable
10
     grounds for temporary release. The Court therefore orders that Trevor White shall be temporarily
11
     released from pretrial custody, pursuant to the terms identified in this order. Upon the completion of the
12
     period of temporary release and Mr. White’s return to custody, this order and its terms shall expire.
13
             SO ORDERED.
14
      Dated: June 7, 2018.
15                                                           THE HONORABLE EDMUND F. BRENNAN
                                                             United States Magistrate Judge
16

17

18

19
                                            ACKNOWLEDGEMENT
20
             I have received a copy of this order from Robert Wilson, counsel for Trevor White. I have
21
     reviewed the order with Mr. Wilson, I understand its terms and the potential penalties for not complying
22
     with it, and I agree to abide by it.
23

24
      Dated:
25                                                           [Cross out this paragraph and write in name]
26

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